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1    BENJAMIN B. WAGNER
     United States Attorney
2    TODD D. LERAS
     Assistant U.S. Attorney
3    501 I Street, Ste 10-100
     Sacramento, CA 95814
4    Telephone (916) 554-2918
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7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        ) NO. 2:09-cr-0223 TLN
                                     )
12                  Plaintiff,       )
               v.                    ) STIPULATION AND ORDER
13                                   ) CONTINUING STATUS CONFERENCE
                                     )
14   KHAMALE KEOVILAY,               )
                                     )
15                  Defendant.       )
     _______________________________ )
16
17
18        The United States of America, through Assistant United States
19   Attorney Todd D. Leras, and Attorney Dennis Waks on behalf of
20   Khamale Keovilay stipulate and agree to continue the Status
21   Conference in this matter to July 11, 2013, at 9:30 a.m.
22        This case is closely related to an alleged drug distribution
23   conspiracy discovered during the course of court-authorized wiretaps
24   (Case No. 2:09-cr-222 TLN).     The discovery in both matters is
25   voluminous.   The government has proposed resolution of this matter
26   along with the closely related case.       Defense counsel has met and
27   conferred with government counsel regarding suggested changes to the
28   proposed resolution.     In the event modifications are adopted,

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1    defense counsel will need additional time to review the revised
2    proposal with his client.     The additional time is therefore needed
3    for attorney preparation and continuity of counsel.          Both parties
4    request that time be excluded pursuant to 18 U.S.C. §
5    3161(h)(7)(B)(iv) - Local Code T-4 (attorney preparation and
6    continuity of counsel).     The parties agree to an exclusion of time
7    for the reasons stated above for the period from June 20, 2013 up to
8    and including July 11, 2013.
9         Dennis Waks has authorized Assistant U.S. Attorney Todd Leras
10   to sign this stipulation on his behalf.
11                                             Respectfully submitted,
12                                             BENJAMIN B. WAGNER
                                               United States Attorney
13
14   DATED: June 18, 2013                By: /s/ Todd D. Leras
                                             TODD D. LERAS
15                                           Assistant U.S. Attorney
16
17   DATED: June 18, 2013                By: /s/ Todd D. Leras for
                                             DENNIS WAKS
18                                           Attorney for Defendant
                                             KHAMALE KEOVILAY
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2                                          ORDER
3         A status conference is set in this matter for July 11, 2013, at
4    9:30 a.m.     Based on the representations of the parties, the Court
5    finds that the ends of justice served by granting the continuance
6    outweigh the best interest of the public and the defendant in a
7    speedy trial.      Time under the Speedy Trial Act shall be excluded
8    under 18 U.S.C. § 3161(h)(7)(B)(4) and Local Code T-4 up to and
9    including the period from June 20, 2013 to July 11, 2013.
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11   DATED:       June 19, 2013
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15                                                     Troy L. Nunley
                                                       United States District Judge
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